                EXHIBIT
                   3




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 1                        UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
 2
            -------------------------------:
 3          ULTIMA SERVICES CORPORATION,               :
                                                       :
 4                         Plaintiff,                  :
                                                       :
 5                     vs.                             : Case No.:
                                                       : 2:20-cv-00041-
 6          U.S. DEPARTMENT OF AGRICULTURE,: DCLC-CRW
            et al.,                                    :
 7                                                     :
                           Defendants.                 :
 8          -------------------------------:
 9
10
11                     REMOTE DEPOSITION OF DANIEL CHOW
12
13          DATE:                   March 10, 2022
14          TIME:                   10:06 a.m.
15          LOCATION:               Rockville, Maryland
16          REPORTED BY:            Shari R. Broussard, RPR, CSR
                                    Reporter, Notary
17
18
19
20
21                           Veritext Legal Solutions
                          1250 Eye Street, NW, Suite 350
22                             Washington, D.C. 20005

                                      Veritext Legal Solutions
                    215-241-1000 ~ 610-434-8588
     Case 2:20-cv-00041-DCLC-CRW Document        ~ 302-571-0510
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  1           APPEARANCES
                                                                          1            PROCEEDINGS
  2   On behalf of Plaintiff:
  3      MICHAEL E. ROSMAN, ESQUIRE                                       2 WHEREUPON,
         MICHELLE A. SCOTT, ESQUIRE
                                                                          3               DANIEL CHOW
  4      Center for Individual Rights
         1100 Connecticut Avenue, Northwest                               4 called as a witness, and having been sworn by the
  5      Suite 625
                                                                          5 notary public, was examined and testified as
         Washington, D.C. 20036
  6      (202) 833-8400                                                   6 follows:
         rosman@cir-usa.gov
                                                                          7          EXAMINATION BY COUNSEL FOR PLAINTIFF
  7
      On behalf of Defendants:                                            8 BY MR. ROSMAN:
  8
                                                                          9      Q    Good morning, Mr. Chow. My name is
         CHRISTINE DINAN, ESQUIRE
  9      JULIET GRAY, ESQUIRE                                            10 Michael Rosman. I represent the plaintiff in the
         ANDREW BRANIFF, ESQUIRE
                                                                         11 lawsuit which you're about to give a deposition.
 10      Department of Justice
         Civil Rights Division                                           12          Have you ever been deposed before?
 11      Employment Litigation Section
                                                                         13      A    None before this one.
         150 M Street, Northeast
 12      Washington, D.C. 20530                                          14      Q    Okay. Why don't you just state your
         christine.dinan@usdoj.gov
                                                                         15 name and address for the record, please.
 13      juliet.gray@usdoj.gov
         andrew.braniff@usdoj.gov                                        16      A    My name is Daniel Chow, C-H-O-W. My
 14
                                                                         17 address is 11910 Kings Bridge Way, Rockville,
 15   ALSO PRESENT:
 16     Josephine Arnold, Esquire, MBDA                                  18 Maryland 20852.
 17
                                                                         19      Q    Great. Thank you.
 18
 19                                                                      20          So let me just explain. This is a
 20
                                                                         21 proceeding before trial in a lawsuit. You've been
 21
 22                                                                      22 sworn to tell the truth. I'm going to ask a
                                                                Page 3                                                            Page 5
  1              CONTENTS                                                 1   series of questions which you should answer to the
  2   EXAMINATION BY:                                   PAGE              2   best of your knowledge and ability. If you don't
  3     Counsel for Plaintiff                4, 113                       3   understand a question, if I've said something
  4     Counsel for Defendant                   109                       4   confusing, you can ask for some clarification and
  5                                                                       5   I might rephrase it. If you need a break at some
  6                                                                       6   point, you can ask me for that and we'll try to
  7   CHOW DEPOSITION EXHIBITS: *                              PAGE       7   arrange one as quickly as we can.
  8 Exhibit 1 Curriculum Vitae                      5
                                                                          8          Do you have any questions about that?
  9 Exhibit 2 Executive Order 12432                     15
                                                                          9       A None. Thank you.
 10 Exhibit 3 Update to the Assessment of Contracting
                                                                         10          (Chow Exhibit Number 1 was
         Outcomes for Small Disadvantaged
                                                                         11          marked for identification.)
 11      Businesses, 2/7/22                    33
                                                                         12   BY MR. ROSMAN:
 12
                                                                         13       Q Okay. I've marked as Plaintiff's
 13
                                                                         14   Exhibit 1 your CV or what was given to us as your
 14
 15
                                                                         15   CV.
 16                                                                      16          Could you just confirm that that is in
 17                                                                      17   fact your CV?
 18                                                                      18       A Yes, this is my CV.
 19                                                                      19       Q Okay. I just have a few questions about
 20                                                                      20   it. I noticed in the first position at the U.S.
 21                                                                      21   Bureau of Labor Statistics it says that you
 22   (* Exhibits attached to transcript.)                               22   authored professional journal articles and I was

                                                                                                                         2 (Pages 2 - 5)
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  1   what extent our minority- and small-disadvantaged      1   of these firms, so yes, they -- they are included
  2   firms are able to win or not win contracts.            2   in the study.
  3       Q And what did you find?                           3       Q To your knowledge, were any individual
  4       A We found that -- I found that SDBs that          4   firms removed from the datasets that you were
  5   are not in the 8(a) program are 30- -- about 37        5   given by SBA either by you or by SBA because of
  6   percent less likely to win a contract compared to      6   their success in bidding in the federal
  7   firms in the 8(a) program, which are like twice as     7   marketplace?
  8   likely to win a contract, and that there are other     8       A No.
  9   characteristics of firms that seem to indicate         9       Q Are you aware of any economic study or
 10   that there are differences in odds ratio for          10   data that would indicate that registered
 11   winning contracts.                                    11   minority-owned firms bid less often on contracts
 12       Q In your study you control for a number          12   than registered non-minority firms --
 13   of factors in your regression analysis to             13       A I'm not aware of any.
 14   determine whether any of those factors could          14       Q -- non-minority-owned firms?
 15   impact the odds of a firm winning a contract.         15       A I'm not aware of any.
 16          Did you control for every factor that          16       Q Let me look at my motes. Just a moment.
 17   the data allowed you to control for?                  17          Just back to what you were saying a
 18       A I controlled for as many factors as I           18   moment ago about the findings, when you indicated
 19   could within the design of the -- of the -- of the    19   that certain firms -- there were 37 percent less
 20   study, yes.                                           20   likely -- had 37 percent less likely odds of
 21       Q In your opinion, would the results from         21   winning a contract as compared to other firms,
 22   your study be consistent with the presence of         22   that was all firms with similar characteristics,
                                                 Page 111                                                         Page 113
  1   discrimination?                                        1 correct?
  2       A Yes, in my expert opinion it is                  2     A    Correct.
  3   consistent, yes.                                       3     Q    And that was not just in comparison to
  4       Q And why is that?                                 4 firms in the 8(a) program; is that right?
  5       A Well, again, we're looking at minority           5     A    Correct.
  6   firms and I looked at all of the variables that        6         MS. DINAN: I believe that is all that I
  7   are relevant in terms of, you know, determining        7 have. Let me just double check.
  8   the differential impact on the odds of winning.        8         No, I have no further questions thank
  9   We're looking at minority firms and I can't            9 you.
 10   think of -- I can't think of any nondiscriminatory    10         MR. ROSMAN: Just two quick follow-up
 11   factors. And we know that discrimination exists       11 questions.
 12   in various workplaces and marketplaces, so looking    12         FURTHER EXAMINATION BY COUNSEL FOR
 13   at the fact that if an SDB is not in the 8(a)         13         PLAINTIFF
 14   program versus a firm that is in the 8(a) program,    14 BY MR. ROSMAN:
 15   we see a statistically significant difference         15     Q    You testified a moment ago that you
 16   between those two. So I -- I tend to look at that     16 thought the results were consistent with
 17   as being consistent with some form of                 17 discrimination.
 18   discrimination.                                       18         Does this mean that discrimination
 19       Q And that was after controlling for              19 cannot be eliminated as a possible cause for the
 20   certain nondiscriminatory factors like age and        20 discrepancies that you found?
 21   gross receipts and things like that, correct?         21     A    I would -- cannot be eliminated as -- I
 22       A Correct, those -- those factors are part        22 would say so, yes.

                                                                                                29 (Pages 110 - 113)
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